Case 3:18-cv-01005-CCC Document 1-4 Filed 01/08/18 Page 1 of 2

DPR MODIFIED AO 440 (Rev, 96/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Puerto Rico

CIVIL NO. 18-1005
Bancrédito international Bank Corporation 5
Plaintiffs) )
y, Civil Action No. BREACH OF CONTRACT
) EXECUTION OF COLLATERAL GUARANTY
} EXECUTION OF PERSONAL GUARANTY
Franco D'Agostino
Defendants) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and ackiress)
Franco D'Agostino
848 Brickwell Ave., Suite 810, Miami, Florida 33134

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action -— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on

the plaintiff or plaintiff's attorney, whose name and address are:

Harold D. Vicente, Vicente & Cuebas
PO Box 11609, San Juan, PR 60910-1609

If you fail to respond, judgment dy default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

FRANCES RIOS DE MORAN, ESQ,
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 3:18-cv-01005-CCC Document 1-4 Filed 01/08/18 Page 2 of 2

DPR MODIFIED AO 440 (Rey, 06/12) Summons in a Civil Actlon (Page 2)

Civil Action No,

This.summons for (rene of individual and tle, Hany)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ, P. 4 (D)

was received by me on (date)

Dates

fF] I personally served the summons on the individual at (place)

, O11 (cate) > or

[“] I left the summons at the individual's residence or usual place of abode with (same)
, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address: or

On (dete)
I] [served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (xame of organization)

on (date) or
[] Iretorned the summons unexecuted because to
| Other (specify):
My fees are $ for travel and $ . for services, for a total of $

I declare under penalty of perjury that this information is true.

Server's signature

Prinied name and tile

Server's acdrass

Additional information regarding attempted service, etc:

